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The following constitutes the ruling of the court and has the force and effect therein described.


Signed December 10, 2018
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                                  NORTHER DISTRICT OF TEXAS
                                       FORT WORTH DIVISION
IN RE:
Dr. Shabnam Qasim, MD, PA


Debtor                                            §              Case No. 18-43088-mxm
                                                                 (Chapter 11)
                                                  §
                                                  §
                                                  §


ORDER GRANTING THE MOTION FOR PAYMENT OF COMPENSATION REQUEST FILED
           ON NOVEMBER 06, 2018 BY PATIENT CARE OMBUDSMAN




THIS MATTER CAME BEFORE THE COURT OF THE HONRABLE JUDGE MARK X.
MULLIN UPON THE MOTION TO HAVE THE DEBTOR, DR. SHABNAM QASIM, MD, PA
PAY COMPENSATION FOR THE SERVICES OF THE PATIENT CARE OMBUDSMAN FOR
SERVICES RENDERED FROM AUGUST 31, 2018 TO NOVEMBER 06, 2018.
THE TOTAL AMOUNT OF CURRENT COMPENSATION DUE IS $ 2,362.50, WHICH CONSIST
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OF EXPENSE $ 126.60 AND FEES OF $2,235.90


     THE COURT, BEING FULLY ADVISED DOES:
     ORDER ADJUDGE AND DECREE THAT THE MOTION BE, AND IT IS, GRANTED,
AND THAT DEBTOR IMMEDIATELY MAKE COMPENSATION TO THE PATIENT CARE
OMBUDSMAN.


                              ***END OF ORDER***
